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UNITED STATES DISTRICT COURT! * § ae
SOUTHERN DISTRICT OF NEW YORK oy 27 AMIE 32

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John Rapillo & Heidi Rapillo on. OF RY.

Plaintiffs (PRO SE)
Case No. 09-CV-10429 (VSB)
- Against —
‘M&morandum of Law to Vacate
\ Judgment Pursuant to Fed.R.Civ.P

60(b)(6)

 
   

Barry Fingerhut, et al

Defendants

 

Presently before this Court i is . Plaintiff's Motion to Vacate the Court’s Order fof Summary

 

Judgment dated September 14, 2016. Plaintiffs argue that relief from this Ord ris
warranted under Fed.R.Civ.P60(b)(6). |

Analysis in Support of Motion for Relief from Judgment Based on Rule 6 (b)

 

This matter is a claim for return of assets improperly removed from a partnership,
Fingerhut-Holzer Partners (the Partnership”). Barry Fingerhut (“Fingerhut”) and Davi Holzer
(‘Holzer’) (‘the Partners”) were partners from 2002 through 2008. Plaintiffs were ind ced to
invest in the partnership by Holzer in October 2005, with various investments totaling 1.9

million, which was allegedly to make them partners in the profits of the business but i reality

was to defraud them of their investment. i
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Fingerhut was the senior partner in the partnership and the Plaintiffs were encouraged to
invest in the partnership based upon his alleged business acumen. After the vee by

the District Attorney's office it was determined that Holzer had invested very little in the
partnership and embezzled significant funds. By 2005, unbeknownst to the Plaintiffs, the

partnership was in turmoil and Fingerhut was pressuring Holzer for money.

 

In the summer of 2007, after Fingerhut became concerned about Holzer’s fraud and
after several months of demanding Holzer to return his funds, Fingerhut hired Thacher
Associates to investigate Holzer. When Thacher Associates confirmed Holzer’s fraud
Fingerhut, representatives from Thacher Associates and Fingerhut’s attorneys reported Holzer

to the NYC District Attorney’s office on fraud charges.

Ultimately, Holzer was convicted of fraud and sentenced to 5 to 15 years in jail During

depositions for his trial, it was clear that Fingerhut knew of the investments by the Plaintiffs in

 

his partnership but chose to ignore it. Instead, Fingerhut took all of the Partnership’s assets as

 

reimbursement for his own losses.

The Grand Jury minutes and the Affirmation from District Attorney Shannon R we
(Exhibit 1) in pursuing the fraud charges against Holzer (“the Criminal Recor ”) will du port the
Plaintiff's position that Fingerhut knew that the money Holzer invested/transferred in The
Waverly, V-Campus, Fingerhut-Holzer Partners and Fingerhut’s personal account was not
money belonging to Holzer. Therefore, when reimbursement was made to Fingerhut (prior to
Fingerhut reporting Holzer to the D.A.) from the partnership, at the very least, the Plaintiffs

should have received a pro-rata share of the reimbursement equal to their investment in the

partnership.

 

Therefore, the Plaintiffs respectfully request that the Court reopen the underlying Case

and order that the Grand Jury information be released so that the Plaintiffs may support their

 
 

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claim for Conversion damages against Fingerhut. Fingerhut helped Holzer in Conversion by

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accepting stolen money.

Argument

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60(b)(6) Additional Justified Relief :

A. Nonfeasance of Plaintiffs’ attorney, Robert Conway:

Mr. Conway failed to present and enunciate key evidence to the Court.. These

items of evidence include:

1. The Affirmation dated February 18, 2009 N.Y. of District Attorney Investigator
Shannon Rowe (Exhibit 1) which indicates that Barry Fingerhut was a direct
beneficiary of funds that the Rapillos entrusted to David Holzer which was to
be invested in various legitimate entities and without their knowledge those
same funds were redirected to Mr. & Mrs. Barry Fingerhut’s personal account
as well as the Fingerhut-Holzer Partners account which was controlled by Mr.

Fingerhut.

 

On March 23, 2006, Plaintiffs wired to David Holzer $800,000 with th

 

understanding it was to be invested for us in legitimate entities. On/the same
day (March 23, 2006), David Holzer purchased “in his name” $500,0 0 in V-
Campus stock. On January 25, 2008, three months before his indict ent by
the District Attorney, Holzer transferred all of the shares to Barry Fin erhut in
lieu of a cancellation of debt that he owed to Fingerhut. Thus, using the

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Rapillos’ funds to pay off Fingerhut and try to pay down the funds he stole

 
   
  
   
   
 

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from him. The Affirmation from D.A. Shannon Rowe (Exhibit 1) confirms this

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along with the V-Campus Schedule 13-D-SEC.gov, Page 3 (Exhibit 7)
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The Affirmation also confirms that on December 15, 2005 and Janua 31,

2006, the Rapillos wired $800,000 to David Holzer. As part of that su ;

Holzer transferred $200,000 to Mr. & Mrs. Fingerhut’s personal accou t and

approximately $140,000 to the account of Fingerhut-Hoizer Partners,

. Letter dated April 2, 2014 (Exhibit 4) written by Barry Fingerhut’s attor ey,
Max Folkenflik, where Attorney Folkenflik states, “Holzer used some
money he received from Plaintiffs to invest in V-Campus in his own n

to pay $200,000 on an antecedent $1 million debt he owed to Finger

. Thacher Associates Report issued October 2007 (Exhibit 2) - commissioned
by Barry Fingerhut to investigate David Holzer when he suspected fr
This report confirms David Holzer’s fraud and Fingerhut reimbursing hi

from the partnership before turning Holzer into the D.A.
. Barry Fingerhut Deposition dated February 7, 2013 (Exhibit 3)

One of the key questions Mr. Conway asked Fingerhut in his depositi
(Exhibit 3) was “Do you dispute that the $800,000 transferred by the
to Mr. Holzer on March 23, 2006 that $500,000 V-Campus stocks we
purchased by Mr. Holzer?” It seemed that Mr. Fingerhut did not ans
question and Mr. Folkenflik answered: “WE DON’T KNOW IF IT WAS THE
RAPILLOS’ MONEY THAT MR. HOLZER USED — IT MIGHT HAVE
MIGHT NOT HAVE BEEN.” It is very important to keep in mind that

Folkenflik made the statement "IT MIGHT HAVE BEEN,” Mr. Fingerhut did not

 
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challenge the statement. That nonresponse from Fingerhut would certainly
indicate that he did not disagree with Folkenflik’s answer (See Pages 99, 100

& 101 of Fingerhut’s deposition-Exhibit 3).

 

Folkenflik also made the following statement: “$800,000 went into his account

from the Rapillos and we don’t know whether there were millions of dollars in

the account.” Mr. Conway answered: “From Mr. Holzer we know there was

nothing there.”

Based on the comments above:

- Mr. Folkenflik speaking for Mr. Fingerhut indicates: “The funds might have
come from the Rapillos?” Since Mr. Fingerhut did not challenge those

comments, HE DID NOT DISAGREE.

B. Evidence Not Presented:
1. Affirmation of Investigator Shannon Rowe (Exhibit 1)
Relevance:

a) The Affirmation supports the Controlling Person Theory showing that
Fingerhut invested $13 million in Fingerhut-Holzer Partners. Holzer
invested just approximately $111,000. Fingerhut was clearly able and did

exercise financial pressure and control over Hoizer.

Mr. Fingerhut’s control over Mr. Holzer was exhibited through intimidation
and coercion by forcing Mr. Holzer to repay debts owed to him any way he

could and later permitting his personal attorney, Max Folkenflik, to

 

 
 

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represent Holzer in his legal battles and most likely paying for those

services. |

interesting to note that Max Folkenflik, Esq. is currently represent ng Mr.

Fingerhut in the Rapillos’ case and was also the attorney to David|Holzer

 

in the same case. In essence, Mr. Folkenflik was representing both sides
in the same case and enabled Mr. Fingerhut to continue “control” over Mr.
Holzer’s testimony. Ethically, how could Mr. Fingerhut allow his lawyer to
represent David Holzer, the person who embezzled millions of dollars from
him if there was no collusion between Fingerhut and Holzer?

Mr. Holzer’s first deposition was taken on March 28, 2012 at the Greene

 

Correctional Facility (Exhibit 6) by Mr. Conway with Mr. Folkenflik

 

representing him. Mr. Holzer, prior to the deposition, had agreed io make

certain information available concerning transfer of funds on the c ndition

that no Civil Suit be brought against his family. During the deposition, Mr.
Folkenflik asked Holzer “did you at any time ask him (referring to Mr.
Conway) to withdraw the names of your family members from the law
suit?” Mr. Holzer answered “We talked about it. Yes.” (Refer to Holzer’s
Deposition, Page 125 (Exhibit 6).

In reviewing Holzer’s deposition it is clear that Holzer had decided against
cooperating and did not reveal anything with regard to Mr. F ingerhut’s

receipt of funds from Holzer. In fact, his answers to questions posed to

him by Mr. Conway were “! DON’T RECALL.” During Holzer’s

 
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The Court Record states that New York State Law “precludes sui against
an employer for a theft committed by an employee so long as the

employer did not induce the employee to commit the theft.”

commit theft knowing full well Holzer had no money and would ha e to

raise it any way he could.

The Affirmation further endorses the claim of Fraud through Veil iercing.
N.Y. State Law states, “A Court may pierce the corporate veil wh re (1)
the owner exercised complete domination over the corporation wi h

respect to the transition at issue and (2) such domination was us d to

commit fraud.

Fingerhut exercised complete dominance over Holzer both financially by

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investing far more in Fingerhut-Holzer Partners than Holzer and |

pressuring him to return his money and by putting his freedom at risk by
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threatening to turn him into the District Attorney which he eventual ly did.

Claim of Conversion “Money may be the subject to conversion fi s

specifically identifiable and there is an obligation to return it or treat itina

 
 

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3. Thacher Report (Exhibit 2)

Relevance:

 

The investigation by Thacher Associates (Exhibit 2) verified the control and

pressure put on David Holzer by Barry Fingerhut by threating to report him to

 

the D.A. The Report confirms David Holzer admitted to his fraudulen

practices with regard to Fingerhut-Holzer Partners. On October 3, 2007

 

Holzer and Fingerhut signed a Contingent Assignment of Equity Inter sts
Agreement, pursuant to which Holzer agrees that, if he has not paid the sum
of $6,970,300 to Fingerhut by October 15, 2007, Holzer will (a) assiy to
Fingerhut all of his share of the investments made by Fingerhut-Holzer
Partners (Totaling $7,274,500); and (b) at Fingerhut’s request, resign from
Fingerhut-Holzer Partners (See page 5 of The Thacher Associates R port

Exhibit 2).

On October 9, 3007, Holzer signs a Secured Promissory Note, pursuant to

which he agrees to pay Fingerhut the sum of $7,603,800.

On October 15, 2007, Holzer signs a Notice of Resignation from Barry/David
Partners, LLC (Barry/David Partners was a vehicle formed by Fingerhut and
Holzer that received carried interests in certain investments made by
Fingerhut-Holzer Partners (See Page 5 of The Thacher Associates Report,

Exhibit 2).

 

 
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After the fraud became known, Holzer assigned to Fingerhut his interest in
the investments made by Fingerhut-Holzer Partners; the amount of this
assignment totaled $8,997,501 (See the Thacher Report Page 7, Exhibit 2).
Holzer wrote two checks to Fingerhut, both of which bounced (See F ngerhut
deposition, page 145, Exhibit 3). This further shows the pressure Holzer was
under by Fingerhut that he would write him two checks knowing they would

bounce.

Fingerhut shortly thereafter informed the D.A. of Holzer’s fraud.
C. Additional Relevant Case Laws:

a) N.Y. Penal Law 165.40

This law states: “a person is guilty of criminal possession of stolen property in
the fifth when he knowingly possesses stolen property with the intent to
benefit himself or a person other than the owner thereof or to impede|the

recovery by an owner.

There is no question that Rapillos’ money was stolen by Holzer and
transferred to Fingerhut-Holzer Partners and to F ingerhut. This is undisputed

by Shannon Rowe’s Affirmation and Fingerhut’s own attorney.

b) Solomon R. Guggenheim Found. v. Lubell, 77 N.Y. 2d 311, 317, |567 N.Y.

2d 623, 569, N.E. 2d 426 (1991).

“An owner may seek recovery of unidentifiable stolen property, such/as a

piece of artwork from an innocent good faith purchase for value.”

 

 
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Rapillos’ funds have clearly been identified by N.Y. District Attorney
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investigation.

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The Court asked: “If there is any evidence in the record that could reasonably

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support a

jury’s verdict for the non-moving party, summary judgment must be denied. (Marvel

Characters, Inc. v Simon, 310 F.3d 280, 286 2d Cir 2002).”

We submit that based on the aforementioned evidence there is amble cause to/Vacate

the Summary Judgment Order.

 
 
  

In addition, we request that the Court order the release of all Grand Jury recor
matter.
Respectfully
Date_6 G4-19 John Rapillo
Wate
Date 6 A179 Heidi Rapillo

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